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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                        Case No.: 11CR20129

vs.                                     HONORABLE ROBERT H. CLELAND

D-18 SMILEY VILLA,

      Defendant.

______________________________/

 ORDER GRANTING DEFENSE PARALEGAL, WILLIAM W. SWOR, II, TO
 VISIT, DEFENDANT SMILEY VILLA, IN THE UNITED STATES BUREAU
                         OF PRISONS

      IT IS HEREBY ORDERED that William W. Swor, II, the Paralegal in the

instant matter, shall be allowed to accompany Attorney, Richard H. Morgan, Jr.,

into the prison at FCI Milan to visit the Defendant, Smiley Villa, to assist in fact

investigations.

      IT IS SO ORDERED.


                                             s/Robert H. Cleland
                                             ROBERT H. CLELAND
                                             UNITED STATES DISTRICT JUDGE

Dated: May 28, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 28, 2014, by electronic and/or ordinary mail.
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                                                                    s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                       (313) 234-5522




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                                                        ____________________________________
                                                        HONORABLE ROBERT H. CLELAND
                                                        UNITED STATES DISTRICT JUDGE




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